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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

     IN RE: ISAAC HAMMETT,                       {   CHAPTER 13
                                                 {
                                                 {
             DEBTOR(S)                           {   CASE NO. A19-62152-SMS
                                                 {
                                                 {   JUDGE SIGLER


                     SUPPLEMENTAL OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Plan as proposed will extend beyond sixty (60)
     months, contrary to 11 U.S.C. Section 1322(d). (100 months).

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.

           October 16, 2019




                                    __________/s/_____________
                                    Albert C. Guthrie, Attorney
                                    for Chapter 13 Trustee
                                    GA Bar No. 142399




     Mary Ida Townson, Chapter 13 Trustee
     285 Peachtree Center Ave, NE
     Suite 1600
     Atlanta, GA 30303
     (404) 525-1110
     albertg@atlch13tt.com
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                             CERTIFICATE OF SERVICE


          This is to certify that on this day I caused a copy
     of the foregoing pleading to be served via United States
     First Class Mail, with adequate postage thereon, on the
     following parties at the address shown for each:

     DEBTOR(S):

     ISAAC HAMMETT
     145 DOE RUN DRIVE
     FAIRBURN, GA 30213

     I further certify that I have on this day electronically
     filed the pleading using the Bankruptcy Court's Electronic
     Filing program, which sends a notice of this document and
     an accompanying link to this document to the following
     parties who have appeared in this case under the
     Bankruptcy Court's Electronic Case Filing program:

     ATLANTA LEGAL AND SOCIETY, INC.

     This 16th day of October 2019




               /s/            ___
     Albert C. Guthrie, Attorney
     for Chapter 13 Trustee
     GA Bar No. 142399




     Mary Ida Townson, Chapter 13 Trustee
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